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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                  )
 UNITED STATES SECURITIES                         )
 AND EXCHANGE COMMISSION,                         )
                                                  )
                        Plaintiff,                )      Civil Action No. 18-cv-5587
                                                  )
 v.                                               )      Hon. John Z. Lee
                                                  )
 EQUITYBUILD, INC., EQUITYBUILD                   )      Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                   )
 and SHAUN D. COHEN,                              )
                                                  )
                        Defendants.               )
                                                  )

                 RECEIVER’S SECOND STATUS REPORT ON CLAIMS

       Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen as defined in the Order Appointing Receiver (Docket No. 16) and Order granting

the Receiver’s Motion to Amend and Clarify Order Appointing Receiver to Specifically Identify

Additional Known Receivership Defendants (Docket No. 290) (collectively, the “Receivership

Defendants”), and pursuant to the powers vested in him by Order of this Court entered on August

17, 2018, respectfully submits this report identifying those liens that are contested and the

Receiver’s preliminary explanation for the dispute, and states as follows:

                                PRELIMINARY STATEMENT

       The Receiver received more than 2,000 claims submissions that are now being reviewed

and analyzed. There are also a handful of claims still in progress to be submitted at a later date.

The claims process is at a very preliminary stage and will require a much deeper and complete

review than what has been possible to date; as a matter of fairness and equity to all victims and
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creditors who submitted claims, the review must be conducted in as complete, efficient, and

equitable fashion as possible (within the context, of course, of the additional work of the

Receivership Estate). As such, it is important to note that the information contained in this report

is based on the best information known at the time this report is submitted. This report provides

preliminary information but does not contain any conclusions or admissions. It also identifies

some issues that are expected to or may impact the claims analysis, but it is not possible at this

time to provide a report that is comprehensive nor exhaustive in that regard.

I.       DISPUTED CLAIMS AND RECEIVER’S PRELIMINARY EXPLANATION FOR
         THE DISPUTE

         For purposes of this preliminary status report, the Receiver considers a lien to be contested

if two or more claimants identified secured claims against one or more of the properties presently

believed to be within the Receivership Estate.1 To aid in this explanation, the Receiver attaches a

spreadsheet that identifies each property and the general categories of allegedly secured claims

submitted as to each property. (See Exhibit 1) Exhibit 1 identifies on a preliminary basis

competing liens on properties presently believed to be within the Receivership Estate. This

spreadsheet is based on a preliminary analysis of proof of claim forms and does not reflect any

conclusions or admissions. It also shows, for each property, whether the Receiver received claims

from investor lenders (i.e., EBF affiliate debt) or institutional lenders; and, for those properties for

which an institutional lender asserted a cross-collateralized loan (i.e., secured by more than one

property) whether there is a corresponding EBF debt claim on any of those properties.




1
 The Receiver also notes there are other claims that have been raised – such as unsecured claims
or equity investor claims – that will also need to be evaluated.


                                                   2
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        As reflected in Exhibit 1, the claims asserting secured EBF affiliate debt2 are based on a

claimants’ self-classification in their submitted proof of claim form as an investor lender and

identification as having a secured interest in a property. At this preliminary stage, the Receiver

has not yet thoroughly or completely analyzed these claims to determine (to the point of making a

recommendation to the Court) which, if any, investor lenders actually have a secured interest.

Therefore, the Receiver is not expressing any conclusions with respect to the secured nature or

validity of these claims at this time. The Receiver is simply identifying for the Court the fact that

claimants submitted claims against certain properties asserting secured interests as investor

lenders.

        As the Receiver stated in the first claims report (Docket No. 468, at 6), following a

preliminary review, it appears certain claims may contain factual assertions that may not be

supported by the documentation submitted with the claim. To determine the validity of these

purportedly secured claims, the Receiver has begun and will need to continue to thoroughly and

completely review all claims (including the proof of claim form and all supporting documents),

publicly recorded documents, EquityBuild records, and other sources of documents to determine

which of these claimants actually hold a valid security interest.3

        Based on the preliminary analysis, it appears the vast majority of properties presently

believed to be within the Receivership Estate have secured claims asserted by both investor lenders

and institutional lenders (in addition to many which also have unsecured claims asserted against




2
  EBF-affiliate debt refers to debt associated with loans made by investor lenders who were
defrauded by the Ponzi scheme.
3
  The Receiver identifies such investor lender claims in an exemplary fashion. Secured claims
have also been submitted by various institutional lenders. The Receiver also is analyzing those
claims, including as to which, if any, lenders (institutional or otherwise) ought to be the subject of
discovery. (See Docket No. 352, May 2, 2019 Order, at 7 n.2)


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them), and as such there will need to be resolution of issues of priority as well as other claims

related issues. To evaluate and resolve these priority disputes, the Receiver will need to analyze

each claim form and all supporting documents, publicly recorded documents, collateral agency

and servicing agreements, EquityBuild documents, third party documents received pursuant to

subpoenas, and other available documents for each property. In a number of instances, the

Receiver will also need to analyze and make a recommendation to the Court with respect to the

validity of releases associated with liens on certain properties. From a preliminary review of

properties with such priority disputes, it appears that EBF affiliate debt was not released on certain

properties, and others appear to have facially invalid releases, payoff letters but no releases, and/or

releases where some but not all EBF mortgagees signed a release. The Receiver will also need to

closely review circumstances surrounding “rolled over” investments. It appears from an initial

review of some of the claims submitted that EBF mortgagees may have rolled over a secured

interest in a property to either an unsecured interest or equity investment. It further appears that

similarly situated investors may have additional nuanced differences with respect to their claims

as a result of their dealings with the Defendants, which will require a careful review of all forms

and supporting documents.4

        Providing some additional and more granular information based on a preliminary review,

there appear to be fifteen properties (1700 Juneway, 4533 S Calumet, 5001 S Drexel, 5450 S

Indiana, 7749 S Yates, 7109 S Calumet, 4520 S Drexel, 4611 S Drexel, 1131 E 79th, 6217 S

Dorchester, 6250 S Mozart, 638 N Avers, 7024 S Paxton, 7255 S Euclid, 6160 S King Drive) with




4
  The Receiver is working with Axos Fiduciary Services where possible to reduce the cost of data
input and review. (See also Docket No. 468 at 4, n.1)


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respect to which claims in dispute have been submitted by both investor lenders (ranging from a

single claim to upwards of 50 claims per property) and institutional lenders.

       There are 71 properties in the Receivership Estate for which claims have been submitted

that are the subject of cross-collateralization. The Receiver’s preliminary review of submitted

claims has identified the following instances where claims in dispute have been submitted by both

investor lenders and institutional lenders involving a cross-collateralized loan:

       •       An institutional lender asserted one secured claim against fifteen properties. There

               were also secured claims asserted by one or more EBF investor lenders on two of

               these properties (7953 S Woodlawn and 8107 S Kingston) and claims asserted by

               equity investors on all of these properties. Because the institutional lender asserted

               a single claim against all fifteen properties, and because there is a secured claim for

               EBF debt on two of these properties, at this time the Receiver is preliminarily

               treating all properties that are part of the institutional lender’s claim as in dispute.

       •       An institutional lender asserted one secured claim against six properties. There

               were also secured claims asserted by one or more EBF investor lenders on three of

               these properties (5437 S Laflin, 7760 S Coles, and 7300 Saint Lawrence) and claims

               asserted by equity investors on all of these properties. Because the institutional

               lender asserted a single claim against all six properties, and because there is a

               secured claim for EBF debt on three of these properties, at this time the Receiver is

               preliminarily treating all properties as part of the institutional lender’s claim as in

               dispute.

       •       An institutional lender asserted one secured claim against seven properties. There

               were also secured claims asserted by EBF investor lenders on six of these




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          properties, and claims asserted by equity investors on one of the properties.

          Because the institutional lender asserted a single claim against all seven properties,

          and because there is a secured claim for EBF debt on six of these properties, at this

          time the Receiver is preliminarily treating all properties as part of the institutional

          lender’s claim as in dispute.

    •     An institutional lender asserted one secured claim against five properties. There

          were also secured claims asserted by one or more EBF investor lenders on each of

          those properties, with the number of secured EBF claims on these properties

          ranging from a half dozen to upwards of 60 per property. As such, at this time the

          Receiver is preliminarily treating all properties as part of the institutional lender’s

          claim as in dispute.

    •     An institutional lender asserted one secured claim against seventeen properties.

          There were also secured claims asserted by EBF investor lenders on each of those

          properties, with the number of secured EBF claims on these properties ranging from

          approximately three to upwards of 50 per property. As such, at this time the

          Receiver is preliminarily treating all properties as part of the institutional lender’s

          claim as in dispute.

    •     An institutional lender asserted one secured claim against seven properties. There

          were also secured claims asserted by EBF investor lenders on five of these seven

          properties. Because the institutional lender asserted a single claim against all seven

          properties, and because there is a secured claim for EBF debt on five of these

          properties, at this time the Receiver is preliminarily treating all properties as part of

          the institutional lender’s claim as in dispute.




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        It is important to note this narrative is based on preliminary analysis of claims submitted

against properties identifying cross-collateralized institutional debt. The Receiver may take a

different view on the proper way to understand the relationship as his review continues and his

analysis evolves.    The Receiver also has initiated discussions with counsel for one of the

institutional lenders and plans to have additional discussions to determine whether there may be

ways to reduce or narrow potential disputes as to cross-collateralized properties.

        There are two properties (6751 S. Merrill and 7110 S. Cornell) where the only secured

claim asserted against the properties were by institutional lenders. There is also a property (6949

S. Merrill) where it appears an institutional lender asserted a secured claim and two unsecured

equity investor claims were also asserted. Disputed issues on these properties include but are not

limited to whether the lender has a valid security interest (i.e., whether the lender had inquiry

notice discussed infra), and to what extent the lender is entitled to recover contract interest, default

rate interest, prepayment penalties, attorneys’ fees, costs, and other sums and also the amount of

any lien the Receiver may assert for administrative expenses. As stated in the Receiver’s first

report on claims (Docket No. 468, at 5), disputed issues in regards to priority as they relate to all

of the claimants relative to the properties also may include without limitation:

        •       Whether, and to what extent, releases and payoff letters issued by EquityBuild

                Finance in connection with mortgage debt refinancings through institutional

                lenders were legally sufficient or insufficient to extinguish the “first in time”

                security interests of EquityBuild investor-lenders.

        •       Whether any claimants were on inquiry notice or otherwise acted in concert with

                the Defendants to deepen the insolvency. See, e.g., In re Sentinel Mgmt. Group,

                Inc., 809 F.3d 958 (7th Cir. 2016).




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       •       Whether any claimant received a fraudulent transfer.

       •       Whether, and to what extent, unrecorded mortgages on various EquityBuild

               Receivership Estate properties are entitled to recognition and priority.

       •       Whether, and to what extent, funds wired to EquityBuild Finance in connection

               with the closings of refinancings through institutional lenders were ever, in turn,

               distributed to the corresponding investor lenders.

       •       The amount of any lien the Receiver may assert for administrative expenses.

       Based on the Receiver’s preliminary analysis, there appear to be thirteen properties where

only EBF affiliate debt was asserted against each property. Apart from determining whether these

represent a valid security interest, disputed issues include but are not limited to whether and to

what extent the lender is entitled to recover interest, attorneys’ fees, costs, and other sums claimed

and also the amount of any lien the Receiver may assert for administrative expenses.

       There also appear to be properties (presently believed to be unencumbered) where claims

not only include unsecured equity investors asserting a claim against a fund or entity but also

include secured claims submitted against the property. The Receiver will need to review without

limitation all documents submitted by claimants and consult the public record in regard to these

properties.

II.    OTHER ISSUES THE RECEIVER MUST CONSIDER DURING HIS CLAIMS
       ANALYSIS

       There are several categories of open issues the Receiver recognizes may impact the claims

process. The Receiver expects to continue receiving completed claims forms because he granted

extensions, in accordance with the Court’s order on the claims process, to ten claimants for whom

extenuating circumstances appeared to preclude a timely filing. Some but not all of these claimants

have submitted claims forms and documents.


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       Beyond those issues, from a preliminary analysis of claims submitted by mail or email to

the Receiver, it appears there are claimants who failed to submit a completed claims form.

Illustrative examples include without limitation one claimant who failed to include a claimed

amount and others who submitted documentation but failed to submit a claim form. As noted,

there also are claims submitted against properties that are not presently identified as within the

Receivership Estate. (Docket No. 468, at 5)

       Additionally, the Receiver is evaluating potential tax implications relating to entities in the

Receivership Estate, the disposition of assets (including but not limited to the sale of real estate),

and the claims process. On May 22, 2019, notice of the claims process was given to a number of

taxing authorities, including the following: the Internal Revenue Service, Texas Workforce

Commission, Illinois Department of Revenue, Florida Department of Revenue, Texas Department

of Revenue, New York Department of Revenue, Colorado Department of Revenue, Washington

Department of Revenue, Delaware Division of Revenue Financial Department, Wyoming

Department of Revenue, Mississippi Department of Revenue, Colorado Department of Labor &

Employment, Louisiana Department of Revenue, Taxpayer Account Administration Division,

Oklahoma Tax Commission, Oklahoma Department of Revenue, and the California Department

of Revenue. One taxing authority – the Texas Comptroller of Accounts – filed a claim relating to

franchise tax under Tax Code Chapter 171.

III.   THE RECEIVER’S PRELIMINARY PROCESS FOR REVIEWING CLAIMS

       The Receiver seeks to implement a process that is fair, efficient, comprehensive, and

provides finality and certainty for all claimants. As to ongoing claims review and analysis, once

all claims have been submitted and the Receiver has had an opportunity to review all 2,000 claims

submissions, the Receiver intends to expeditiously ascertain, evaluate, and/or determine (as well




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as identify additional information that may be necessary with respect to) without limitation, the

following:

          i.   whether there are potential claimants or other interested parties who must be

               brought before the Court in order to ensure that the claims process ultimately

               provides a fair and final result for all claimants and other stakeholders;

         ii.   which claims are, in fact, secured (including which claims that have been asserted

               to be secured are, in fact, not secured);

        iii.   for those properties for which there are multiple secured claims, whether there is a

               dispute between them with respect to priority;

        iv.    for those properties with priority disputes, whether certain mortgagees were

               released, recorded, and/or paid off and in what amounts;

         v.    whether there are claimants who were on inquiry notice or otherwise acted in

               concert with the Defendants to deepen the insolvency by perpetuating the fraud and

               Ponzi scheme at issue in this matter;

        vi.    for those properties where an institutional lender asserted a cross-collateralized loan

               against more than one property and for which there are EBF debt secured claims

               asserted as to only certain of those properties, whether to treat all properties as in

               dispute or only those with corresponding EBF debt secured claims;

       vii.    for properties as to which claimants asserted a cross-collateralized loan, whether

               the claimed amount can be allocated in some fashion amongst the properties;

       viii.   whether any claims ought be rejected for failure to comply with the Court-approved

               procedures and claim form;

        ix.    what is the total amount of each claim, and what are its identifiable components;




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         x.    whether there are common identifiable components of submitted claims that the

               Receiver contests;

        xi.    the total number of claimants (after the Receiver has reviewed and accounted for

               any duplicative submissions);

        xii.   which claims will require discovery for purposes of determining validity, priority,

               or other information;

       xiii.   whether and to what extent summary proceedings should be used within the claims

               process;

       xiv.    the circumstances surrounding “rolled over” investments and what relationship, if

               any, these investments have to priority issues relating to properties with secured

               claims;

        xv.    how to classify and treat claims that identify an interest in properties not presently

               believed to be within the Receivership Estate; and

       xvi.    whether, and to what extent, there are properties or claims for which the Receiver

               determines there are, in fact, no competing liens.

       After the Receiver has thoroughly and completely reviewed all claims submissions, his

plan and goal is to provide a report to the Court that makes a recommendation to the Court for

classifying claims, the amount of each claim, the priority of claims, and a plan for distribution of

funds in the Receivership Estate to the victims and creditors of the Defendants. Once the Receiver

has filed this report on claims and distribution, the Court should set a date by which any party or

interested person or entity must submit an objection to the Receiver’s report to the Receiver. The

Court should then allow the Receiver an opportunity to consider and address all objections in order

to determine if any can be resolved or if such objections would lead the Receiver to revise his




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report or change any of his recommendations (to avoid placing before the Court issues that can be

resolved without the Court’s time and attention). The Court should then set dates for the Receiver

to file a report on unresolved objections as well as a date by which responses to the report on

objections must be filed. Finally, the Court should set a hearing date with respect to the Receiver’s

report on claims and plan for distribution.

       However, it is premature to set the foregoing schedule until the Receiver has completed

the claims analysis and prepared a report on claims and distribution. At this time, it is too

speculative to say with certainty how long the analysis of claims will take, except to say that the

Receiver intends to address it diligently and it is likely to last well into next year. As previously

noted, the Receiver may be able to resolve disputed claims on an interim basis such that they may

be presented to the Court for approval prior to the Receiver’s submission of a comprehensive report

on claims and distribution, including for example instances where there is only one secured claim

with respect to a property.

       The Receiver proposes that the Court set a status hearing in 60 days at which time the

Receiver will report to the Court as to:

       (1)     whether all claims have been submitted, including without limitation the claim that

is currently due September 9, 2019;

       (2)     whether the Receiver has identified potential claimants or other interested parties

who the Receiver believes must be brought before the Court in order to ensure that the claims

process ultimately provides a fair and final result for all claimants and other stakeholders and, if

so, the Receiver’s plan for bringing such parties before the Court;

       (3)     the status of the Receiver’s efforts to ascertain and determine which claims are

secured by real estate assets of the Receivership Estate, and if that effort is not complete then to




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also identify the Receiver’s plan to complete that effort, including whether and to what extent

discovery may be necessary;

        (4)    for those properties for which there are multiple secured claims, the status of the

Receiver’s efforts to identify whether there is a dispute between them that must be resolved as to

priority;

        (5)    whether any claims ought be rejected for failure to comply with the procedures and

claim form approved by the Court; and

        (6)    the status as to the Receiver’s remaining efforts with respect to the claims process.

       The Receiver also will provide updates as to progress and timing with respect to the claims
process in the quarterly status reports that he files with the Court.


                                                     Respectfully submitted,

Dated: August 15, 2019                               Kevin B. Duff, Receiver


                                             By:     /s/    Michael Rachlis
                                                     Michael Rachlis (mrachlis@rdaplaw.net)
                                                     Nicole Mirjanich (nm@rdaplaw.net)
                                                     Rachlis Duff Peel & Kaplan, LLC
                                                     542 South Dearborn Street, Suite 900
                                                     Chicago, IL 60605
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                                CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Receiver’s Second Status Report

on Claims, via ECF filing, to all counsel of record on August 15, 2019.

       I further certify I caused to be served the Defendant Jerome Cohen via e-mail:

       Jerome Cohen
       1050 8th Avenue N
       Naples, FL 34102
       jerryc@reagan.com
       Defendant



                                                    /s/ Michael Rachlis

                                                    Michael Rachlis
                                                    Rachlis Duff Peel & Kaplan, LLC
                                                    542 South Dearborn Street, Suite 900
                                                    Chicago, IL 60605
                                                    Phone (312) 733-3950
                                                    Fax (312) 733-3952
                                                    mrachlis@rdaplaw.net




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                                                      Exhibit 1
            Receiver’s Preliminary Analysis of Categories of Allegedly Secured Claims as to Each Property

 Property               Property Address      Alternative Address         Secured EBF debt         Secured             Secured EBF debt
 Number                                                                        claim             institutional       claim on at least one
                                                                                                  debt claim                property
                                                                                                                       corresponding to
                                                                                                                     cross-collateralized
                                                                                                                      institutional lender
                                                                                                                              debt
1             1700 Juneway Terrace                                    x                      x
2             4533-37 S Calumet Avenue                                x                      x
3             5001 S Drexel Boulevard       909 E 50th Street         x                      x
4             5450-52 S Indiana Avenue      118-132 E Garfield        x                      x
5             7749 S Yates Boulevard                                  x                      x
6             6437 S Kenwood Avenue                                   x
7             7109-19 S Calumet Avenue                                x                      x
8             1414 East 62nd Place                                    x
9             8100 S Essex Avenue           2449-2457 E. 81st St.     x
10            7301-09 S Stewart Avenue                                x
11            7500-06 S. Eggleston Avenue                             x
12            3030-32 E 79th Street                                   x
13            2090 E 78th Street                                      x
14            7549-59 S Essex Avenue                                  x
15            8047-55 S Manistee Avenue                               x
16            1017 W 102nd Street                                                            x
17            1516 E 85th Place                                                              x
18            2136 W 83rd Street                                                             x
19            417 Oglesby Avenue                                                             x
20            7922 S Luella Avenue                                                           x
21            7925 S Kingston Avenue                                                         x
22            7933 S Kingston Avenue                                                         x
23            8030 S Marquette Avenue                                                        x
24            8104 S Kingston Avenue                                                         x
25            8403 S Aberdeen Street                                                         x
26            8405 S Marquette Avenue                                                        x
27            8529 S Rhodes Avenue                                                           x
28            8800 S Ada Street                                                              x
29            9212 S Parnell Avenue                                                          x
30            10012 S LaSalle Avenue                                                         x                   x
31            11318 S Church Street                                                          x                   x
32            3213 S Throop Street                                                           x                   x
33            3723 W 68th Place                                                              x                   x
34            406 E 87th Place                                                               x                   x
35            61 E 92nd Street                                                               x                   x
36            6554 S Rhodes Avenue                                                           x                   x
37            6825 S Indiana Avenue                                                          x                   x
38            7210 S Vernon Avenue                                                           x                   x
39            7712 S Euclid Avenue                                                           x                   x
40            7953 S Woodlawn Avenue                                  x                      x                   x
41            8107 S Kingston Avenue                                  x                      x                   x
42            8346 S Constance Avenue                                                        x                   x
43            8432 S Essex Avenue                                                            x                   x
44            8517 S Vernon Avenue                                                           x                   x
45            2129 W 71st Street                                                             x                   x
46            9610 S Woodlawn Avenue                                                         x                   x
47            5437 S Laflin Street                                    x                      x                   x
48            6759 S Indiana Avenue                                                          x                   x
49            7300-04 St Lawrence Avenue                              x                      x                   x
50            7760 S Coles Avenue                                     x                      x                   x
51            1401 W 109th Place                                      x                      x                   x
52            310 E 50th Street                                       x                      x                   x
53            6807 S Indiana Avenue                                   x                      x                   x
54            8000 S Justine Street         1541 E 80th Street        x                      x                   x
55            8107 S Ellis Avenue                                                            x                   x
56            8209 S Ellis Avenue                                     x                      x                   x
57            8214 S Ingleside Avenue                                 x                      x                   x
58            5955 S Sacramento Avenue      2948-56 W 60th Street     x
59            6001 S Sacramento Avenue      2945-51 W 60th Street     x
60            7026 S Cornell Avenue                                   x
61            7237 S Bennett Avenue                                   x
62            7834-44 S Ellis Avenue                                  x
63            4520-26 S Drexel Boulevard                              x                      x
64            4611 S Drexel Boulevard                                 x                      x
65            6751-57 S Merrill Avenue      2136 East 68th Street                            x
66            7110 S Cornell Avenue                                                          x




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                                                      Exhibit 1
            Receiver’s Preliminary Analysis of Categories of Allegedly Secured Claims as to Each Property

 Property               Property Address               Alternative Address          Secured EBF debt         Secured             Secured EBF debt
 Number                                                                                  claim             institutional       claim on at least one
                                                                                                            debt claim                property
                                                                                                                                 corresponding to
                                                                                                                               cross-collateralized
                                                                                                                                institutional lender
                                                                                                                                        debt
67            1131-41 E 79th Place                                              x                      x
68            6217-27 S Dorchester Avenue                                       x                      x
69            6250 S Mozart Avenue                   2832-36 W 63rd Street      x                      x
70            638 N Avers Avenue                                                x                      x
71            701 S 5th Avenue                       414 Walnut                 x
72            7024-32 S Paxton Avenue                                           x                      x
73            7255-57 S Euclid Avenue                1940-44 E 73rd Street      x                      x
74            3074 Cheltenham Place                  7836 S Shore Drive         x                      x                   x
75            7625-33 S East End Avenue                                         x                      x                   x
76            7635-43 S East End Avenue                                         x                      x                   x
77            7750-58 S Muskegon Avenue              2818-36 E 78th Street      x                      x                   x
78            7201 S Constance Avenue                1825-31 E 72nd Street      x                      x                   x
79            6160-6212 S Martin Luther King Drive                              x                      x
80            2736 W 64th Street                                                x                      x                   x
81            4317 S Michigan Avenue                                            x                      x                   x
82            6355-59 S Talman Avenue                2616-22 W 64th Street      x                      x                   x
83            6356 S California Avenue               2804 W 64th Street         x                      x                   x
84            7051 S Bennett Avenue                                             x                      x                   x
85            7201-07 S Dorchester Avenue            1401 E 72nd Street         x                      x                   x
86            7442-48 S Calumet Avenue                                          x                      x                   x
87            7508 S Essex Avenue                    2453-59 E 75th Street      x                      x                   x
88            7546 S Saginaw Avenue                                             x                      x                   x
89            7600 S Kingston Avenue                 2527 E 76th Street         x                      x                   x
90            7656 S Kingston Avenue                 2514-20 E 77th Street      x                      x                   x
91            7701 S Essex Avenue                                               x                      x                   x
92            7748-50 S Essex Avenue                 2450-52 E 78th Street      x                      x                   x
93            7953-59 S Marquette Road               2708-10 E 80th Street      x                      x                   x
94            816-20 E Marquette Road                                           x                      x                   x
95            8201 S Kingston Avenue                                            x                      x                   x
96-99         8326-58 S Ellis Avenue                                            x                      x                   x
100           11117-11119 S Longwood Drive                                      x
101           6949-59 S Merrill Avenue                                                                 x
102-106       7927-49 S Essex Avenue                                            x
107           1422 East 68th Street                                             x                      x                   x
108           2800 E 81st Street                                                                       x                   x
109           4750 S Indiana Avenue                                             x                      x                   x
110           5618 S Martin Luther King Drive                                   x                      x                   x
111           6558 S Vernon Avenue                   416-24 E 66th Street       x                      x                   x
112           7450 S Luella Avenue                   2220 East 75th Street      x                      x                   x
113           7840 S Yates Avenue                                                                      x                   x
114           1418 East 62nd Place                                              x
116           1102 Bingham St, Houston, TX 77007                                x




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